Case 1:19-cv-00010-JPJ-PMS Document 1 Filed 03/22/19 Page 1 of 3 Pageid#: 1



                                                                                             3/22/19
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA

                                        Abingdon Division

BRANDON BLEVINS,

                       Plaintiff

v.                                                               1:19CV10
                                                      Case No. __________________

TRAVIS HAYTON,
                       Defendant

                                          COMPLAINT

       Brandon Blevins, by counsel, states as follows:

1.     This is an action for damages brought pursuant to 42 U.S.C. § 1983. This Court has

jurisdiction pursuant to 28 U.S.C. § 1331.

2.     Brandon Blevins is a citizen of the Commonwealth of Virginia. At all times pertinent to

the claims stated herein, Defendant Travis Hayton is, and was at the time of the incidents

described herein, a Deputy Sheriff of Tazewell County, Virginia, acting in that capacity and

authority under the color of state law in the events described herein.

3.     On or about March 23, 2017, Blevins was operating a motor vehicle on the highways of

Tazewell County, Virginia, when Tazewell County, Virginia, Deputy Sheriff Keith Dunn

observed Plaintiff’s vehicle run off the highway and almost hit a guardrail. Dunn signaled to

Blevins to stop his vehicle. Blevins did not stop and Dunn continued to follow Blevins,

attempting to get him to stop.

4.     Blevins used his cellular telephone to call 911 and informed the 911 operator that an

officer was attempting to stop him, that he wanted to and was attempting to comply, but that he

could not get his legs to work to stop his vehicle. Blevins had suffered from mental health



                                                 1
Case 1:19-cv-00010-JPJ-PMS Document 1 Filed 03/22/19 Page 2 of 3 Pageid#: 2




issues, including severe depression, and during acute attacks, his body would “freeze” or

otherwise not respond to his cognitive directions.

5.     Deputy Dunn communicated with officer law enforcement officers by radio, informing

them that he was engaged in the pursuit of the Blevins vehicle and that the driver of the vehicle

would not stop. Defendant Hayton, operating another sheriff’s patrol car, joined in the pursuit,

as Police Officers employed by the Town of Tazewell, Virginia who were operating Town of

Tazewell police vehicles. It is believed that Dunn and the Defendant knew that Blevins had been

communicating with the 911 operator that he wanted to stop but could not get his legs to work.

6.     Blevins eventually was able to get his vehicle under control and stopped his car on the

side of the highway. Defendant Hayton approached him while instructing Blevins to get out of

his vehicle. Blevins was attempting to do so and struggled to unlock his seat belt and shoulder

harness.

7.     Defendant Hayton used a weapon to break the driver’s side window of Blevins’ vehicle,

striking near to or onto Blevins’ head with that weapon and physically pulled Blevins from the

vehicle, piledriving Blevins face first to the ground with great force and landing on him with

Hayton’s weight on Blevins. The force used by Hayton in the arrest was excessive and

unnecessary. Blevins had suffered a severe injury to his head and face and injury to his back.

8.     Blevins was handcuffed and while laying face down on the ground while handcuffed felt

and suffered a powerful and painful kick to his ribs.

9.     The Defendants wrongfully acted under color of state law to intentionally and

maliciously use and inflict upon Plaintiff excessive and unnecessary force in the arrest of

Plaintiff in violation of the Fourth Amendment to the United States Constitution.




                                                 2
Case 1:19-cv-00010-JPJ-PMS Document 1 Filed 03/22/19 Page 3 of 3 Pageid#: 3




10.    Blevins suffered such physical injuries in the arrest that he was transported from the

scene by ambulance for treatment at a hospital. As a direct and proximate result of Defendant’s

wrongful acts, Plaintiff suffered substantial injuries, including temporary and permanent bodily

injury, pain and suffering and emotional distress.

11.    The Defendant’s wrongful acts were done intentionally and maliciously and Plaintiff is

entitled to punitive damages.

TRIAL BY JURY IS DEMANDED.

       Wherefore, Plaintiff demands judgment against the Defendants in the amount of

$500,000.00 in compensatory and punitive damages, attorney fees and expenses, and his costs

expended.

                                      BRANDON BLEVINS

               BY COUNSEL             Michael A. Bragg     /s/
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